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7                             UNITED STATES DISTRICT COURT
8                           SOUTHERN DISTRICT OF CALIFORNIA
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10   PEOPLE OF THE STATE OF                              Case No.: 18cv2050-JM (LL)
     CALIFORNIA, ex rel. The Regional
11
     Water Quality Control Board, San Diego              NOTICE AND ORDER FOR
12   Region,                                             TELEPHONIC EARLY NEUTRAL
                                        Plaintiff,       EVALUATION CONFERENCE AND
13
                                                         CASE MANAGEMENT
14   v.                                                  CONFERENCE
15   INTERNATIONAL BOUNDARY AND
     WATER COMMISSION, UNITED
16
     STATES SECTION;
17   JOSE NUÑEZ, in his capacity as Acting
     Commissioner of the International
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     Boundary and Water Commission, United
19   States Section,
20                                   Defendants.
21
22           After reviewing the pleadings in this case, IT IS HEREBY ORDERED that a
23   telephonic, attorneys-only Early Neutral Evaluation ("ENE") of your case will be held on
24   December 12, 2018 at 10:30 a.m. Plaintiff’s counsel shall coordinate and initiate the
25   conference call by calling chambers with all relevant participants on the line.1
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         Chambers’ phone number is 619-557-5585.
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1            The following are mandatory guidelines for the parties preparing for the Early
2    Neutral Evaluation Conference.
3            1.    Purpose of Conference: The purpose of the ENE is to permit an informal
4    discussion between the attorneys and the settlement judge of every aspect of the lawsuit in
5    an effort to achieve an early resolution of the case. All conference discussions will be
6    informal, off the record, privileged, and confidential.      Counsel for any non-English
7    speaking party is responsible for arranging for the appearance of an interpreter at the
8    conference.
9            2.    Confidential ENE Statements Required: On or before December 4, 2018
10   the parties shall submit via email, fax, or hand delivery, confidential statements no more
11   than ten (10) pages2 in length directly to the chambers of the Honorable Linda Lopez.3
12   These confidential statements shall not be filed or served on opposing counsel. Each
13   party's confidential statement must include the following:
14                 a.    A brief description of the case, including a chronology of the relevant
15   facts and a statement of the principal factual disputes;
16                 b.    A brief description of the legal claims, counterclaims, and defenses
17   asserted, and a statement of the principal contested legal disputes, including references to
18   relevant statutes and legal authority;
19                 c.    A specific and current demand or offer for settlement addressing all
20   relief or remedies sought. If a specific demand or offer for settlement cannot be made at
21   the time the brief is submitted, then the reasons therefore must be stated along with a
22   statement as to when the party will be in a position to state a demand or make an offer. A
23   general statement that a party will “negotiate in good faith” is not a specific demand or
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26   2
      The parties shall not append attachments or exhibits to the ENE statement.
     3
27    If hand delivering, send the document to the Honorable Linda Lopez c/o the Clerk’s
     Office, U.S. District Court, Southern District of California, 333 West Broadway, Suite 420,
28   San Diego, California 92101.
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1    offer contemplated by this Order. It is assumed that all parties will negotiate in good faith;
2    and
3                 d.     A brief description of any previous settlement negotiations, mediation
4    sessions, or mediation efforts.
5          3.     New Parties Must be Notified by Plaintiff's Counsel: Plaintiff's counsel
6    shall give notice of the ENE to parties responding to the complaint after the date of this
7    notice.
8          4.     Case Management Conference: In the event the case does not settle during
9    the ENE, the Court will conduct an Initial Case Management Conference. In preparation
10   for this conference, the parties must
11                a.     Meet and confer pursuant to Federal Rule of Civil Procedure 26(f) no
12   later than November 21, 2018.
13                b.     File a Joint Discovery Plan on the CM/ECF system no later than
14   December 4, 2018. Agreements made in the Joint Discovery Plan will be treated as
15   binding stipulations that are effectively incorporated into the Court’s Case Management
16   Order. The Joint Discovery Plan must be one document and must address each item
17   identified in Federal Rule of Civil Procedure 26(f)(3). In addition, the discovery plan must
18   include:
19                       i.     Service: A statement as to whether any parties remain to be
20   served and, if so, a proposed deadline for service;
21                       ii.    Amendment of Pleadings: The extent to which parties, claims,
22   or defenses are expected to be added or dismissed and a proposed deadline for amending
23   the pleadings;
24                       iii.   Protective Order: Whether a protective order is contemplated
25   to cover the exchange of confidential information and, if so, the date by which the proposed
26   order will be submitted to the Court;
27                       iv.    Privilege: The procedure the parties plan to use regarding claims
28   of privilege and whether an order pursuant to Federal Rule of Evidence 502 will be sought;

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1                          v.     Evidence Preservation: Whether the parties have discussed
2    issues related to the preservation of relevant evidence and if there are areas of
3    disagreement, how the parties are resolving them;
4                          vi.    Electronic Discovery: In addition to the requirements set forth
5    in Federal Rule of Civil Procedure 26(f)(3)(C), the parties must describe their agreements
6    regarding methodologies for locating and producing electronically stored information and
7    the production of metadata, and must identify any issues or agreements regarding
8    electronically stored information that may not be reasonably accessible (see Fed. R. Civ.
9    P. 26(b)(2)(B));
10                         vii.   Discovery: In addition to the requirements of Federal Rule of
11   Civil Procedure 26(f)(3)(B), the parties must describe the discovery taken to date (if any),
12   any proposed limitations or modifications of the discovery rules, and any identified
13   discovery disputes;
14                         viii. Related Cases: Any related cases or proceedings pending before
15   another judge of this court, or before another court or administrative body;
16                         ix.    Scheduling: Proposed dates for fact discovery cutoff, expert
17   designations, expert disclosures, expert discovery cutoff, filing of dispositive motions,
18   filing class certification motion (if class is alleged), pretrial conference and trial;
19                         x.     Professional Conduct: Whether all attorneys of record for the
20   parties have reviewed Civil Local Rule 83.4 on Professionalism; and
21                         xi.    Miscellaneous: Such other matters as may facilitate the just,
22   speedy and inexpensive disposition of this matter.
23                c.       Exchange initial disclosures pursuant to Federal Rules of Civil
24   Procedure 26(a)(1)(A-D) no later than December 5, 2018.
25         5.     Requests to Continue an ENE Conference: Local Rule 16.1(c) requires that
26   an ENE take place within forty-five (45) days of the filing of the first answer. Requests to
27   continue ENEs are rarely granted. However, the Court will consider formal, written, ex
28   parte requests to continue an ENE conference when good cause exists that make a

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1    continuance appropriate. Any request must be filed with the Court and served on opposing
2    counsel. Absent good cause, requests for continuances will not be considered unless
3    submitted in writing no fewer than seven (7) days prior to the scheduled conference.
4          IT IS SO ORDERED.
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6    Dated: November 13, 2018
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1                        NOTICE OF RIGHT TO CONSENT TO TRIAL
2                   BEFORE A UNITED STATES MAGISTRATE JUDGE
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4          In accordance with the provisions of 28 U.S.C. § 636(c), you are hereby notified that
5    a U.S. Magistrate Judge of this district may, upon the consent of all parties, on Form 1A
6    available in the Clerk's Office, conduct any or all proceedings, including a jury or non-jury
7    trial, and order the entry of a final judgment. Counsel for the plaintiff shall be responsible
8    for obtaining the consent of all parties, should they desire to consent.
9          You should be aware that your decision to consent or not to consent is entirely
10   voluntary and should be communicated solely to the Clerk of Court. Only if all parties
11   consent will the Judge or Magistrate Judge to whom the case has been assigned be informed
12   of your decision.
13         Judgments of U.S. Magistrate Judges are appealable to the U.S. Court of Appeals in
14   accordance with this statute and the Federal Rules of Appellate Procedure.
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